                                                                             1   Ray R. Brown
                                                                                 Molly C. Brown
                                                                             2   DILLON & FINDLEY, P.C.
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                                                                             5   Attorneys for Plaintiff

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                                                                             7
                                                                                                     IN THE UNITED STATES DISTRICT COURT
                                                                             8
                                                                                                   FOR THE DISTRICT OF ALASKA AT ANCHORAGE
                                                                             9

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                                                                                 C. WALTER EBELL,              )
                                 TEL. (907) 277-5400 · FAX (907) 277-9896
              DILLON & FINDLEY




                                                                                                               )
                                    A PROFESSIONAL CORPORATION




                                                                            11
                                        1049 W. 5th Avenue, Suite 200




                                                                                                Plaintiff,     )
                                          Anchorage, Alaska 99501




                                                                            12                                 )
LAW OFFICES




                                                                                 vs.                           )
                                                                            13
                                                                                                               )
                                                                            14
                                                                                 ZURICH AMERICAN INSURANCE     )
                                                                                 COMPANY,                      )
                                                                            15                                 )
                                                                                                Defendant.     )
                                                                            16   ______________________________)            Case No. 3:13-cv-00200-RRB
                                                                            17                     STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                            18
                                                                                       COME   NOW     C.   Walter   Ebell   and   Zurich    American     Insurance
                                                                            19
                                                                                 Company,     by     and    through   undersigned       counsel,     and    hereby
                                                                            20
                                                                                 stipulate and agree that this action be dismissed with prejudice
                                                                            21
                                                                                 and   without     attorney’s   fees,   costs,     or   disbursements      to   any
                                                                            22

                                                                            23   party.     This stipulation is effective without order of the Court

                                                                            24   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

                                                                            25

                                                                            26
                                                                                 C. Walter Ebell v. Zurich American Insurance Co.
                                                                                 Case No. 3:13-cv-00200-RRB
                                                                                 STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                                 Page 2 of
                                                                                   Case    2
                                                                                        3:13-cv-00200-RRB   Document 17 Filed 01/03/14     Page 1 of 2
                                                                             1         DATED this 3rd day of January 2014 at Anchorage, Alaska.
                                                                             2                                 DILLON & FINDLEY, P.C.
                                                                                                               Attorneys for Plaintiff
                                                                             3

                                                                             4                                 By: s/Ray R. Brown
                                                                                                                  Ray R. Brown, ABA No. 8206012
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                                                                                                               Attorneys for Defendant
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                                                                                                               By: s/M. Scott Broadwell (by consent)
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                                                                            20
                                                                                 CERTIFICATE OF SERVICE
                                                                            21
                                                                                 I hereby certify that on the 3rd day of
                                                                            22   January 2014, a copy of the foregoing
                                                                                 Stipulation for Dismissal with
                                                                            23   Prejudice was served electronically on
                                                                                 M. Scott Broadwell.
                                                                            24

                                                                            25   s/Ray R. Brown
                                                                            26
                                                                                 C. Walter Ebell v. Zurich American Insurance Co.
                                                                                 Case No. 3:13-cv-00200-RRB
                                                                                 STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                                                 Page 2 of
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